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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

STATE OF NEW MEXICO ex rel.
State Engineer, et al.,

               Plaintiffs,                                  69cv07941 MV/KK
                                                            Rio Chama Adjudication
       v.
                                                            Village of Chama, Section 7
ROMAN ARAGON, et al.,

               Defendants.

                      ORDER GRANTING MOTION TO WITHDRAW

       THIS MATTER is before the Court on Charles T. DuMars, Tanya L. Scott Kyle S.

Harwood and Luke M. Pierpont’s Unopposed Motion for Withdrawal as Counsel and Notice of

Substitution of Counsel, Doc. 11343, filed May 29, 2018. Mr. DuMars and Ms. Scott seek to

withdraw as counsel for Chama Troutstalkers LLC and state that Chama Troutstalkers LLC

consents to their withdrawal. Mr. Harwood and Mr. Pierpont give notice that they are appearing

as substitute counsel on behalf of Chama Troutstalkers LLC. No responses opposing the Motion

have been filed. The Court will grant the motion. See D.N.M.LR-Civ. 83.8(a) (a motion to

withdraw must indicate consent of the client and notice of appointment of substitute attorney).

       IT IS ORDERED that Charles T. DuMars, Tanya L. Scott, Kyle S. Harwood and Luke

M. Pierpont’s Unopposed Motion for Withdrawal as Counsel and Notice of Substitution of

Counsel, Doc. 11343, filed May 29, 2018, is GRANTED.




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                                             KIRTAN KHALSA
                                             UNITED STATES MAGISTRATE JUDGE
